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                                                                                    1   Henry C. Wang (SBN 196537)                                       MADE JS-6
                                                                                        Email: hwang@reedsmith.com
                                                                                    2   William R. Overend (SBN 180209)
                                                                                        Email: woverend@reedsmith.com
                                                                                    3   Michael A. Garabed (SBN 223511)
                                                                                        Email: mgarabed@reedsmith.com
                                                                                    4   Karen Wan (SBN 248542)
                                                                                        Email: kwan@reedsmith.com
                                                                                    5   REED SMITH LLP
                                                                                        355 South Grand Avenue, Suite 2900
                                                                                    6   Los Angeles, CA 90071-1514
                                                                                        Telephone: +1 213 457 8000
                                                                                    7   Facsimile: +1 213 457 8080
                                                                                    8   Attorneys for Plaintiff
                                                                                        PINKBERRY, INC.
                                                                                    9
                                                                                   10                             UNITED STATES DISTRICT COURT
                 A limited liability partnership formed in the State of Delaware




                                                                                   11                         CENTRAL DISTRICT OF CALIFORNIA
                                                                                   12
                                                                                        PINKBERRY, INC., a California              Case No. CV 08-05927 GW (FFMx)
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                                                                                   13   corporation,
                                                                                                                                   The Honorable George H. Wu
                                                                                   14                       Plaintiff,
                                                                                                                                   CONSENT JUDGMENT AND
                                                                                   15         vs.                                  PERMANENT INJUNCTION
                                                                                   16   PEACHBERRY YOGURT, INC., d/b/a
                                                                                        PEACHY YOGURT and PEACHBERRY
                                                                                   17   YOGURT, a California corporation, and
                                                                                        MIRA KIM, an individual
                                                                                   18
                                                                                                            Defendant.
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                                                                                    1         Pursuant to the parties’ stipulation, and good cause appearing, IT IS HEREBY
                                                                                    2   ORDERED that final judgment be and hereby is entered as follows:
                                                                                    3         1.     Pinkberry owns all rights in and to the United States Trademark
                                                                                    4   Registration for the following marks (collectively, “PINKBERRY Marks”), each of
                                                                                    5   which is valid and subsisting:
                                                                                    6     TRADEMARK             REG. NO.     ISSUE DATE           GOODS AND SERVICES
                                                                                    7     PINKBERRY             3,302,143    October 2, 2007     Frozen yogurt; frozen
                                                                                                                                                 yogurt based dessert,
                                                                                    8                                                            combined with fruit, nuts,
                                                                                                                                                 cereal and shaved ice and
                                                                                    9                                                            rice cakes; and smoothies
                                                                                   10     PINKBERRY             3,460,697    July 8, 2008        Restaurant services;
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                                                                                                                                                 restaurants; take-out
                                                                                   11                                                            restaurant services, café-
                                                                                                                                                 restaurants; fast-food
                                                                                   12                                                            restaurants
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                                                                                   13     Stylized Leaf and     3,461,027    July 8, 2008        Express restaurant services,
                                                                                          Berry Swirl                                            food kiosk services, and
                                                                                   14     Design                                                 carry-out restaurant
                                                                                                                                                 services featuring frozen
                                                                                   15                                                            yogurt-based desserts,
                                                                                                                                                 frozen dairy desserts,
                                                                                   16                                                            smoothies and shaved ice
                                                                                   17     PINKBERRY &           3,460,702    July 8, 2008        Restaurant services;
                                                                                          Stylized Leaf and                                      restaurants; take-out
                                                                                   18     Berry Swirl                                            restaurant services; café-
                                                                                          Design                                                 restaurants; fast-food
                                                                                   19                                                            restaurants
                                                                                   20
                                                                                   21         2.     Defendant Peachberry Yogurt, Inc. (“Peachberry”) has used the
                                                                                   22   PEACHBERRY mark and logo depicted in Exhibit A hereto (the “PEACHBERRY
                                                                                   23   Marks”) in connection with the promotion and sale of the same or similar products as
                                                                                   24   Pinkberry.
                                                                                   25         3.     In or about 2007, Pinkberry demanded Peachberry to cease and desist
                                                                                   26   from using the PEACHBERRY Marks. On June 1, 2007, Pinkberry and Peachberry
                                                                                   27   entered into a settlement agreement (the “2007 Agreement”), wherein Peachberry
                                                                                   28   agreed, among other things, that certain of the PINKBERRY Marks are valid,

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                                                                                    1   enforceable and owned by Pinkberry, that its use of certain of the PEACHBERRY
                                                                                    2   Marks or other confusingly similar marks infringed Pinkberry’s statutory and common
                                                                                    3   law rights, and that it would not use the PEACHBERRY Marks or other marks are
                                                                                    4   confusingly similar to the PINKBERRY Marks. With the exception of retaining its
                                                                                    5   corporate name in the ordinary course of business and not for purposes of the unlawful
                                                                                    6   sale, promotion or advertisement of its services and products, Peachberry further
                                                                                    7   agreed, represented and promised, among other things, to cease and desist all use of
                                                                                    8   certain of the PEACHBERRY Marks.
                                                                                    9         4.     A dispute has arisen between Pinkberry and Defendants Peachberry and
                                                                                   10   Kim (collectively, “Defendants”) in that Pinkberry contends that Defendants continue
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                                                                                   11   to use PEACHBERRY Marks in connection with the sale, promotion, and
                                                                                   12   advertisement of Peachberry’s products and services, allegedly thereby breaching the
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                                                                                   13   2007 Agreement and continuing to infringe upon Pinkberry’s statutory and common
                                                                                   14   law rights under the PINKBERRY Marks (the “Dispute”).
                                                                                   15         5.     Based on the Dispute, on or about September 10, 2008, Pinkberry
                                                                                   16   commenced an action for damages and equitable relief in the United States District
                                                                                   17   Court for the Central District of California against Defendants, entitled Pinkberry, Inc.
                                                                                   18   v. Peachberry Yogurt, Inc., dba Peachy Yogurt and Peachberry Yogurt and Mira Kim,
                                                                                   19   CV 08-05927 GW (FFMx), asserting claims for breach of contract, federal trademark
                                                                                   20   infringement, federal false designation of origin, California unfair competition, injury
                                                                                   21   to business reputation, and unjust enrichment (the “Action”).
                                                                                   22         6.     Defendant Peachberry, for itself and itself alone, agrees and
                                                                                   23   acknowledges that its use of the PEACHBERRY Marks constitutes a breach of the
                                                                                   24   2007 Agreement.
                                                                                   25                7.    Peachberry has represented to Pinkberry that it will, among other
                                                                                   26   things, comply with the terms and conditions of the 2007 Agreement and cease and
                                                                                   27   desist from all unlawful use of the PEACHBERRY Marks, with the exception of
                                                                                   28   retaining its corporate name in the ordinary course of business and not for purposes of

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                                                                                    1   the unlawful sale, promotion or advertisement of its services and products. To that
                                                                                    2   end, the parties have entered into a Settlement Agreement containing the full terms
                                                                                    3   and conditions of their settlement.
                                                                                    4         8.     Pursuant to the Settlement Agreement containing the full terms and
                                                                                    5   conditions of their settlement, Peachberry has consented to a Permanent Injunction
                                                                                    6   and Consent Judgment as follows:
                                                                                    7         A.     Permanent Injunction
                                                                                    8         Defendant Peachberry shall be permanently restrained and enjoined from:
                                                                                    9         (1)    using any mark that includes the word “BERRY” in connection with the
                                                                                   10   sale, distribution or promotion of any goods or services that are the same or
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                                                                                   11   confusingly similar to Pinkberry’s goods or services, including on or with Defendants’
                                                                                   12   signage, uniforms, cups, napkins, decor, menus, banners, advertisements, Internet
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                                                                                   13   websites, coupons and any other promotional materials, except that Peachberry may
                                                                                   14   make limited use of the word “berry” in a non-trademark or descriptive fashion to
                                                                                   15   describe berry flavors, ingredients or toppings for their products and except that
                                                                                   16   Peachberry may retain its corporate name in the ordinary course of business and not
                                                                                   17   for purposes of the unlawful sale, promotion or advertisement of its services and
                                                                                   18   products;
                                                                                   19         (2)    using any mark or logo that consists of a “swirl” or “swirl-like” design in
                                                                                   20   connection with the sale, distribution or promotion of any goods or services that are
                                                                                   21   same or confusingly similar to Pinkberry’s goods or services, including on or with
                                                                                   22   Defendants’ signage, uniforms, cups, napkins, decor, menus, banners, advertisements,
                                                                                   23   Internet websites, coupons and any other promotional materials;
                                                                                   24         (3)    engaging in any conduct that tends falsely to represent, or is likely to
                                                                                   25   confuse, mislead or deceive consumers or members of the public that Defendants’
                                                                                   26   actions, sales, services, and/or products are sponsored by, approved by, licensed by, or
                                                                                   27   connected or otherwise affiliated with Pinkberry or its subsidiaries; and
                                                                                   28         (4)    diluting, blurring or tarnishing the distinctive and famous nature of

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                                                                                    1   Pinkberry’s name, and the PINKBERRY Marks.
                                                                                    2         B.     Compliance with Injunction Order
                                                                                    3         Peachberry shall provide to Pinkberry proof of compliance with this permanent
                                                                                    4   injunction in the form of photographs and a compliance statement. Such proof shall
                                                                                    5   be delivered to Pinkberry’s counsel of record every six months for a period of twelve
                                                                                    6   (12) months from the date of entry of this Judgment.
                                                                                    7         C.     Destruction of Infringing Materials
                                                                                    8         Within thirty (30) days of entry of judgment for Pinkberry, Peachberry, its
                                                                                    9   subsidiaries, affiliates, agents, servants, employees, attorneys, representatives,
                                                                                   10   successors and assigns, and all persons, firms or corporations in active concert or
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                                                                                   11   participation with Peachberry, shall either have destroyed or deliver up for destruction
                                                                                   12   to Pinkberry:
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                                                                                   13         (1)    Any and all goods, apparel, merchandise, products, labels, signs,
                                                                                   14   packaging wrappers, containers, advertising or promotional materials, letterhead,
                                                                                   15   business cards, and any other writing materials used in its business, which display,
                                                                                   16   reproduce, consists, or bear the PEACHBERRY Marks;
                                                                                   17         (2)    Any screens, designs, blueprints, drafts, patterns, plates or negatives used
                                                                                   18   specifically in connection with the PEACHBERRY Marks, emblems, symbols, names,
                                                                                   19   designations, terminology; and
                                                                                   20         (3)    Any and all goods, apparel, merchandise, products, labels, signs,
                                                                                   21   packaging wrappers, containers, advertising or promotional materials, letterhead,
                                                                                   22   business cards, and any other writing materials used in its business, which falsely
                                                                                   23   display, reproduce, copy, counterfeit, imitate or bear the PEACHBERRY Marks,
                                                                                   24   photographs, artworks, or any simulation or variant thereof.
                                                                                   25         D.     Violation of Injunction
                                                                                   26         Violation of this Consent Judgment and Permanent Injunction shall subject
                                                                                   27   Peachberry to contempt and any remedy available at law or equity, including, but not
                                                                                   28   limited to, injunctive relief, monetary damages and the award of reasonable attorneys’

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                                                                                    1   fees and costs in enforcing this injunction.
                                                                                    2         E.     Jurisdiction
                                                                                    3         This Court shall retain exclusive jurisdiction over any enforcement action of
                                                                                    4   this injunction or alleged breach of the underlying settlement agreements.
                                                                                    5         F.     Judgment
                                                                                    6         Judgment on the cause of action for breach of contract as against Defendant
                                                                                    7   Peachberry Yogurt, Inc. shall be, and is hereby, entered in favor of Plaintiff Pinkberry,
                                                                                    8   Inc. This Consent Judgment and Permanent Injunction adjudicate all claims for relief
                                                                                    9   asserted in the Action, and all remaining claims against Defendant Peachberry Yogurt,
                                                                                   10   Inc. and all claims against Defendant Mira Kim are hereby dismissed with prejudice.
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                                                                                   11   All parties are to bear their own attorneys’ fees, costs and expenses.
                                                                                   12         IT IS SO ORDERED.
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                                                                                              DATED: November 20, 2008
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                                                                                                                                ________________________________
                                                                                   17                                           GEORGE H. WU
                                                                                                                                United States District Court Judge
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